        CASE 0:20-cv-01688-PJS-ECW Doc. 8 Filed 08/24/20 Page 1 of 2




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


Minnesota Voters Alliance, Andrew Cilek,                Case No. 20-CV-01688 PJS/ECW
Kim Crockett, Craig Anderson, Yvonne
Hundshamer, Craig Jones,

                     Plaintiffs,

v.
                                                        PLAINTIFFS’
Tim Walz, in his official capacity as              MOTION FOR TEMPORARY
Governor of Minnesota, or his successor;          RESTRAINING ORDER AND
Steve Simon, in his official capacity as          PRELIMINARY INJUNCTION
Secretary of State of Minnesota, or his
successor, Mark V. Chapin, in his official
capacity as Hennepin County Auditor, or
his successor, Christopher A. Samuel, in his
official capacity as Ramsey County Auditor,
or his successor, Keith Ellison, in his
official capacity as Attorney General of
Minnesota, or his successor, Mike Freeman,
in his official capacity as Hennepin County
Attorney, or his successor, John Choi, in his
official capacity as Ramsey County
Attorney, or his successor,

                     Defendants.



      The Plaintiffs Minnesota Voters Alliance, Andrew Cilek, Kim Crockett, Craig

Anderson, Yvonne Hundshamer and Craig Jones, through their counsel, move for temporary

restraining order and preliminary injunction requesting this Court to enjoin the Defendants

from enforcing Minnesota’s legally unauthorized combination of laws criminalizing wearing

a mask and not wearing a mask in public places and in polling places. The Plaintiffs’ motion
        CASE 0:20-cv-01688-PJS-ECW Doc. 8 Filed 08/24/20 Page 2 of 2




will be based upon filed memoranda of law, supporting declarations and exhibits, and oral

argument, including all other documents filed in these proceedings as deemed necessary.



Dated: August 24, 2020.                          /s/Erick G. Kaardal
                                                Erick G. Kaardal, 229647
                                                Mohrman, Kaardal & Erickson, P.A.
                                                150 South Fifth Street, Suite 3100
                                                Minneapolis Minnesota 55402
                                                Telephone: (612) 341-1074
                                                Facsimile: (612) 341-1076
                                                Email: kaardal@mklaw.com
                                                Attorneys for Plaintiffs




                                            2
